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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)


FTX TRADING LTD. and MACLAURIN
INVESTMENTS LTD.,

                                    Plaintiffs,

                      - against -                               Adv. Pro. No. 23-50437 (JTD)

LOREM IPSUM UG, PATRICK GRUHN,
ROBIN MATZKE, and BRANDON WILLIAMS,
                                                                Hearing Date: March 20, 2024 at 10:00 a.m. (ET)
                                                                Obj. Deadline: March 7, 2024 at 4:00 p.m. (ET)
                                    Defendants.


    MOTION OF PLAINTIFFS FOR ENTRY OF AN ORDER (I) AUTHORIZING
PLAINTIFFS TO ENTER INTO STIPULATION WITH LOREM IPSUM UG, PATRICK
GRUHN, ROBIN MATZKE, BRANDON WILLIAMS, MARTHA LAMBRIANOU, AND
        MARCEL LOETSCHER, (II) APPROVING THE STIPULATION,
                 AND (III) GRANTING RELATED RELIEF

                 FTX Trading Ltd. (“FTX”) and Maclaurin Investments Ltd. (“Maclaurin” and

together with FTX, “Plaintiffs” and collectively with their affiliated debtors and debtors-in-

possession, the “Debtors”) hereby submit this motion (the “Motion”) for entry of an order,

substantially in the form attached hereto as Exhibit A (the “Order”), pursuant to section 105(a) of

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and rule

9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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Plaintiffs to enter into the stipulation of settlement, a copy of which is attached as Exhibit 1 to

the Order (the “Stipulation”), 2 between and among Plaintiffs and Patrick Gruhn, Robin Matzke,

Lorem Ipsum UG, and Brandon Williams (collectively, “Defendants”), and Martha Lambrianou

and Marcel Lötscher (together with Defendants, the “LI Parties”). Plaintiffs and the LI Parties

are each a “Party” and collectively, the “Parties.” In support of the Motion, Plaintiffs submit the

declaration of Mr. Steven P. Coverick attached hereto as Exhibit B. In further support of the

Motion, Plaintiffs respectfully state as follows:

                                           Preliminary Statement

                 1.       In three share purchase transactions executed prepetition on October 25,

2020, July 2, 2021, and November 14, 2021, Plaintiffs acquired Digital Assets DA AG, a Swiss

company later renamed FTX Europe AG, and its subsidiaries, from Patrick Gruhn, Brandon

Williams and Lorem Ipsum UG (which is wholly owned by defendant Robin Matzke). Plaintiffs

transferred a total of $273,499,994 in cash and USDC to Defendants, and promised or did

transfer equity in FTX to Defendants, in connection with the second and third share purchase

agreements, including payments tied to meeting certain milestones set out in the third share

purchase agreement. Plaintiffs brought this adversary proceeding (the “Adversary Proceeding”)

to avoid these transfers and obligations, as well as claims related to transfers Debtor FTX Europe

AG (“FTX Europe”) made to third parties, and to disallow any claims by Defendants in the

Chapter 11 Cases. The Official Committee of Unsecured Creditors (the “Creditors’ Committee”)

intervened as a Plaintiff in the Adversary Proceeding [A.P. D.I. 50, 51].




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    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
    Stipulation.

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                2.      Defendants subsequently filed motions to dismiss the Adversary

Proceeding and certain of the LI Parties filed motions to dismiss the Chapter 11 Cases of FTX,

Maclaurin, FTX Europe and FTX EU Ltd.

                3.      In addition, certain of the LI Parties filed proofs of claim in the Chapter 11

Cases. Patrick Gruhn filed a proof of claim against FTX (Claim No. 4831) for “[n]o less than

$33,402,312.50” (the “Gruhn Proof of Claim”) and Lorem Ipsum UG filed a proof of claim

against FTX (Claim No. 4476) for “[n]o less than $62,011,656.25” (the “Lorem Ipsum Proof of

Claim”), in each case for funds alleged to be due under the third share purchase agreement,

related agreements, and for other potential claims such as breach of contract and fraud. Robin

Matzke filed a customer proof of claim against FTX (Claim No. 50116) for the balance of his

FTX customer account as of the petition date, including $34,814,823.15 in fiat plus the value of

the cryptocurrency positions in his account (the “Matzke Proof of Claim”). Martha Lambrianou,

the sole remaining prepetition director of FTX EU Ltd., filed proofs of claim on behalf of FTX

EU Ltd. against FTX and FTX Switzerland GmbH (Claim Nos. 79107 and 79926) for

$161,203,051.84 (the “Lambrianou Proofs of Claim” and together with the Matzke Proof of

Claim, Gruhn Proof of Claim, and Lorem Ipsum UG Proof of Claim, the “Proofs of Claim”).

                4.      After the commencement of the Chapter 11 cases, the Debtors, with the

assistance of their bankers at Perella Weinberg Partners, sought to initiate a sale process for FTX

Europe and its affiliates as part of their effort to monetize assets for the benefit of the estates.

During these preparatory activities, the Debtors came to the view that there was no realistic

prospect of a successful sale of FTX Europe for the reasons set forth in Plaintiffs’ complaint.

                5.      Following extensive arm’s length negotiations, on January 29, 2024, the

Debtors and the LI Parties agreed to the principal terms of a global settlement of the Adversary

Proceeding, the Proofs of Claim, and the LI Parties’ motions to dismiss, as well as the sale of

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certain subsidiaries and assets of FTX Europe to certain of the LI Parties or their affiliates (the

“Global Settlement”). The Global Settlement was reflected in the Stipulation, dated as of

February 7, 2024, which contemplates, among other things, (i) the disallowance of the Gruhn,

Lorem Ipsum UG, and Lambrianou Proofs of Claim; (ii) the withdrawal, with prejudice, of the

LI Parties’ motions to dismiss the Adversary Proceeding and the Chapter 11 Cases of FTX,

Maclaurin, FTX Europe, and FTX EU Ltd.; (iii) an agreement by the LI Parties to refrain from

taking any adverse action against the Debtors (such as by filing a motion to dismiss any of the

pending Chapter 11 Cases); (iv) the allowance of the Matzke Proof of Claim against FTX, in an

amount to be reconciled; (v) the release of any claims the Debtors may have against the LI

Parties and certain other persons connected to the LI Parties, FTX Europe, or its subsidiaries, as

specified in Annex A to the Stipulation; (vi) the release of any claims the LI Parties and their

respective affiliates (and other parties specified in Annex A to the Stipulation, and their

respective affiliates) may have against the Debtors and certain other persons; and (vii) the

dismissal of the Adversary Proceeding with prejudice. As a component of the Global Settlement,

the Parties have agreed that, pursuant to a sale agreement subject to approval by the Court,

Patrick Gruhn, Robin Matzke and Lorem Ipsum UG will purchase certain subsidiaries and assets

of FTX Europe for $32,700,000. The Debtors will file a separate motion seeking approval of the

proposed sale.

                 6.    Plaintiffs’ entry into the Stipulation is in the best interests of their estates,

creditors and stakeholders. The proposed settlement Stipulation obviates the need for further

litigation with the LI Parties in both the Adversary Proceeding and the Chapter 11 Cases of FTX,

Maclaurin, FTX Europe and FTX EU Ltd. Approval of the Stipulation will resolve Plaintiffs’

claims against each of the Defendants and Defendants’ claims against the estates and deliver

significant recovery while avoiding the expense, uncertainty and burden of litigation. The sale

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agreement entered into in connection with the proposed settlement will deliver substantial value

to FTX Europe creditors and facilitate an orderly liquidation of FTX Europe and its remaining

subsidiaries. The Creditors Committee supports the proposed settlement as set forth in the

Stipulation and this Motion. Accordingly, Plaintiffs submit the Stipulation satisfies Bankruptcy

Rule 9019 and should be approved.

                                                 Background

                 7.       On November 11 and November 14, 2022 (as applicable, the “Petition

Date”), 3 the Debtors filed with the Court voluntary petitions for relief under the Bankruptcy

Code. The Debtors continue to operate their businesses and manage their properties as debtors-

in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                 8.       Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was

authorized by the Court by entry of an order on November 22, 2022 [Ch. 11 D.I. 128]. On

December 15, 2022, the Office of the United States Trustee for the District of Delaware,

appointed the Official Committee in the Debtors’ Chapter 11 Cases, pursuant to section 1102 of

the Bankruptcy Code [Ch. 11 D.I. 231].

                 9.       Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [Ch. 11 D.I. 24], the Declaration of

Edgar W. Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [Ch. 11 D.I. 57],

the Supplemental Declaration of John J. Ray III in Support of First Day Pleadings [Ch. 11 D.I.

92] and the Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings

[Ch. 11 D.I. 93].




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    November 11, 2022, is the Petition Date for all Debtors, except for Debtor West Realm Shires Inc.

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                                            Jurisdiction

                10.    The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicates for the relief requested herein are section 105(a) of the

Bankruptcy Code and Bankruptcy Rule 9019. Pursuant to Local Rule of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”) 9013-1(f), Plaintiffs consent to the entry of a final order or judgment by the Court in

connection with this Motion to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                         Relief Requested

                11.    By this Motion, Plaintiffs request entry of the Order, substantially in the

form attached hereto as Exhibit A, (a) authorizing the Plaintiffs to enter into the Stipulation,

(b) approving the Stipulation, and (c) granting certain related relief.

                              Facts Specific to the Relief Requested

                12.    Prior to the Petition Date, between June 29, 2021, and October 5, 2022,

2022, Alameda and FTX transferred a total of $273,499,994 in cash and USDC to Defendants,

and promised or did transfer equity in FTX to Defendants, to acquire FTX Europe (then known

as Digital Assets DA AG) and as earn-out payments under the third and final share purchase

agreement (together, the “Transfers”).

                13.    Plaintiffs believe that they have meritorious claims to avoid and recover

the Transfers and other related claims. On July 12, 2023, Plaintiffs commenced the Adversary


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Proceeding by filing a complaint [Adv. Pro. D.I. 1] asserting claims for intentional and

constructively fraudulent transfers in connection with the acquisition of Digital Assets DA AG,

claims for preferential transfers in connection with the earn-out payments, claims for breach of

fiduciary duty against Robin Matzke and Patrick Gruhn for causing FTX Europe to make

transfers to certain third parties, and for disallowance of Defendants’ claims filed in the Chapter

11 Cases. Plaintiffs sought to avoid transfers and recover $323.5 million in damages.

               14.     On October 25, 2023, Brandon Williams moved to dismiss the complaint

in the Adversary Proceeding for failure to state a claim and in the alternative for summary

judgment [Adv. Pro. D.I. 23]. On October 27, 2023, Lorem Ipsum UG, Patrick Gruhn, and

Robin Matzke filed a motion to dismiss the complaint for failure to state a claim and for lack

subject matter jurisdiction [Adv. Pro. D.I. 31]. On December 15, 2023, Plaintiffs filed their

opposition to the motion to dismiss [Adv. Pro. D.I. 58]. Defendants believe their motions are

meritorious; Plaintiffs disagree.

               15.     The LI Parties also have filed several motions to dismiss the Chapter 11

Cases of certain Debtors. On October 27, 2023, Patrick Gruhn, Robin Matzke, and Lorem Ipsum

UG filed motions to dismiss the Chapter 11 Cases of Maclaurin and FTX for lack of subject

matter jurisdiction [Ch. 11 D.I. 3399 & 3400]. On December 12, 2023, the Debtors filed their

omnibus opposition to these motions [Ch. 11 D.I. 4616]. On November 17, 2023, Dr. Marcel

Lötscher, a former employee and director-elect of FTX Europe, filed a motion to dismiss the

Chapter 11 Case of FTX Europe for lack of subject matter jurisdiction [Ch. 11 D.I. 4037] (the

“Lötscher Motion to Dismiss”). Lastly, on January 10, 2024, Martha Lambrianou filed a motion

to dismiss the Chapter 11 Case of FTX EU Ltd [Ch. 11 D.I. 5529] (the “Lambrianou Motion to

Dismiss” and together with the Lötscher Motion to Dismiss and the Gruhn, Matzke, and Lorem




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Ipsum UG motions to dismiss, the “Motions to Dismiss”). Movants believe their Motions to

Dismiss are well-founded; Debtors disagree.

               16.    Certain of the LI Parties filed proofs of claim in the Chapter 11 Cases.

The Gruhn and Lorem Ipsum Proofs of Claim were filed on June 30, 2023, the Matzke Proof of

Claim was filed on September 10, 2023, and the Lambrianou Proofs of Claim were filed on

September 28, 2023.

               17.    On January 4, 2024, the Debtors filed the Motion of Debtors For Entry of

An Order (I) Authorizing and Approving (A) Entry Into, and Performance Under, the Share

Purchase Agreement and (B) the Purchase and Sale of Certain Shares Free and Clear of Liens,

Claims and Encumbrances and (II) Dismissing the Chapter 11 Cases of Certain Debtors

Effective Upon the Earlier of the Closing or the Termination of the Share Purchase Agreement

[Ch. 11 D.I. 5378] (the “FTX EU Sale Motion”), seeking Court authorization, among other

things, for FTX Europe to sell, and for FTX Trading to purchase, the equity interests of Debtors

FTX EU Ltd. and FTX Switzerland GmbH, and upon the earlier of the closing or the termination

of the proposed sale, dismissal of the Chapter 11 Cases of FTX Europe, FTX Certificates GmbH,

FTX Crypto Services Ltd, FTX Structured Products AG and FTX Trading GmbH.

               18.    Because the FTX Europe Sale Motion requested the same relief as the

Lötscher Motion to Dismiss—dismissal of the chapter 11 case of FTX Europe—the Debtors filed

the Debtors’ Objection to the Motion of Dr. Marcel Lötscher to Dismiss the Bankruptcy Case of

FTX Europe AG [Ch. 11 D.I. 5428] on January 5, 2024, requesting that the Court deny the

Lötscher Motion to Dismiss without prejudice, or in the alternative, to adjourn.

               19.    Following extensive arm’s length negotiations, on January 29, 2024, the

Debtors and the LI Parties reached the Global Settlement. In connection with this settlement, on




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January 31, 2024, the Court entered an agreed order approving a stay of the Adversary

Proceeding [Adv. Pro. D.I. 83].

               20.     The Global Settlement was reflected in the Stipulation, which the Debtors

and the LI Parties executed on February 7, 2024. The Stipulation contemplates, among other

things, (i) the disallowance of the Gruhn, Lorem Ipsum UG, and Lambrianou Proofs of Claim;

(ii) the withdrawal of the Motions to Dismiss and the FTX Europe Sale Motion with prejudice;

(iii) an agreement by the LI Parties to refrain from taking any adverse action against the Debtors

(such as by filing a motion to dismiss any of the pending Chapter 11 Cases); (iv) the allowance

of the Matzke Proof of Claim; (v) the release of any claims the Debtors may have against the LI

Parties and certain other persons connected to the LI Parties, FTX Europe AG, or its subsidiaries,

as specified in Annex A to the Stipulation; (vi) the release of any claims the LI Parties and their

respective affiliates (and other parties specified in Annex A to the Stipulation, and their

respective affiliates) may have against the Debtors and certain other persons; and (vii) the

dismissal of the Adversary Proceeding with prejudice.

               21.     Annex A to the Stipulation identifies both the name of the parties subject

to releases by the Debtors under the Stipulation, as well as their relationship with the LI Parties

and/or the reason for the release. The Stipulation provides that the scope of the Debtors’ release

of claims, or the Court’s modification to the scope of the release as part of the Court’s approval

of the Stipulation, or the exclusion by the Court of any party identified on Annex A from the

release, does not affect the validity or effectiveness of the Stipulation.

               22.     In conjunction with the Global Settlement, on February 7, 2024, the

Debtors and certain of the LI Parties entered into the Share and Asset Purchase Agreement,

pursuant to which Patrick Gruhn, Robin Matkze, and Lorem Ipsum UG agreed to cause

CredoMedia GmbH to purchase certain subsidiaries of FTX Europe, including FTX EU Ltd.,

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FTX Switzerland GmbH, FTX Trading GmbH, FTX Certificates GmbH, and FTX Structured

Products AG, as well as certain operating assets of FTX Europe, including IT assets, business

records, and intellectual property, for $32,700,000, on the terms and subject to the conditions

therein (the “Sale Transaction”).

                                           Basis for Relief

I.      The Stipulation Satisfies Bankruptcy Rule 9019 Because It Is Fair, Reasonable and in
        the Plaintiffs’ Best Interests.

                23.     Resolution of Plaintiffs’ claims against Defendants through the Stipulation

is in the best interests of Plaintiffs and their estates because it will resolve costly, hard-fought

litigation and result in the disallowance of the Gruhn, Lorem Ipsum UG, and Lambrianou Proofs

of Claim totaling $256,617,020. Furthermore, in connection with the Global Settlement

implemented through the Stipulation, Gruhn, Lorem Ipsum UG and Matzke have agreed to the

Sale Transaction, which will allow the Debtors to realize a significantly higher value for the

assets of FTX Europe than the Debtors were previously able to obtain. The proposed settlement,

together with the Sale Transaction, likely would generate more value to the Debtors’ estates on a

risk adjusted basis than if Plaintiffs were to continue litigating the Adversary Action. Settlement

on the proposed terms is thus a reasonable exercise of the Plaintiffs’ business judgment

satisfying Bankruptcy Rule 9019.

                24.     Bankruptcy Rule 9019(a) provides, in relevant part, that “[o]n motion by

the trustee and after notice and a hearing, the court may approve a compromise or settlement.”

Fed. R. Bankr. P. 9019(a). Compromises and settlements are “a normal part of the process of

reorganization.” Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v.

Anderson, 390 U.S. 414, 424 (1968) (TMT Trailer Ferry) (quoting Case v. L.A. Lumber Prods.

Co., 308 U.S. 106, 130 (1939)). The compromise or settlement of litigation, especially in the

bankruptcy context, is encouraged and “generally favored in bankruptcy” as such settlements

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“minimize litigation and expedite the administration of the estate.” In re World Health Alts.,

Inc., 344 B.R. 291, 295-96 (Bankr. D. Del. 2006).

                25.     “[T]he decision whether to approve a compromise under [Bankruptcy]

Rule 9019 is committed to the sound discretion of the Court, which must determine if the

compromise is fair, reasonable, and in the interest of the estate.” In re Louise’s, Inc., 211 B.R.

798, 801 (D. Del. 1997). Courts should not, however, substitute their judgment for that of the

debtor, but instead should canvass the issues to see whether the compromise falls below the

lowest point in the range of reasonableness. See In re Neshaminy Office Bldg. Assocs., 62 B.R.

798, 803 (E.D. Pa. 1986); In re W.T. Grant and Co., 699 F.2d 599, 608 (2d Cir. 1983); see also

In re World Health, 344 B.R. at 296 (“[T]he court does not have to be convinced that the

settlement is the best possible compromise. Rather, the court must conclude that the settlement

is ‘within the reasonable range of litigation possibilities.’”) (internal citations omitted). Taken

together, section 105(a) and Bankruptcy Rule 9019(a) grant a bankruptcy court the power to

approve a proposed compromise and settlement when it is in the best interests of the debtor’s

estate and its creditors. See In re Marvel Ent. Grp., Inc., 222 B.R. 243, 249 (D. Del. 1998); In re

Louise’s, Inc., 211 B.R. at 801.

                26.     The Third Circuit Court of Appeals has enumerated four factors that

should be considered in determining whether a compromise should be approved: “(1) the

probability of success in litigation; (2) the likely difficulties in collection; (3) the complexity of

the litigation involved, and the expense, inconvenience and delay necessarily attending it; and

(4) the paramount interest of the creditors.” In re Martin, 91 F.3d 389, 393 (3d Cir. 1996);

accord In re Nutraquest, Inc., 434 F.3d 639, 644 (3d Cir. 2006) (finding that the Martin factors

are useful when analyzing a settlement of a claim against the debtor as well as a claim belonging

to the debtor); see also TMT Trailer Ferry, 390 U.S. at 424; In re Marvel Ent. Grp., Inc., 222

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B.R. at 243 (proposed settlement held in best interest of the estate); In re Mavrode, 205 B.R.

716, 721 (Bankr. D.N.J. 1997). The test boils down to whether the terms of the proposed

compromise fall “within a reasonable range of litigation possibilities.” In re Washington Mut.,

Inc., 442 B.R. 314, 328 (Bankr. D. Del. 2011); see In re Pa. Truck Lines, Inc., 150 B.R. 595, 598

(E.D. Pa. 1992) (citations omitted).

               27.    In addition, Bankruptcy Code section 105(a) provides, in pertinent part,

that the “[c]ourt may issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions” of the Bankruptcy Code. 11 U.S.C. § 105(a).

               28.    The terms of the proposed Stipulation fall well within the range of

reasonableness and should be approved by the Court. The terms of the Settlement Agreement

provide for the immediate disallowance of three sizable proofs of claim against the Debtors.

Furthermore, in conjunction with the settlement, and subject to the approval of the Court, the

Sale Transaction would result in the payment of $32.7 million to Debtor FTX Europe at a

significantly higher price than the Debtors have otherwise been able to realize. The settlement

would also avoid the risks of litigation and the time and expense of pursuing claims against the

Defendants. Accordingly, the compromises set forth in the Stipulation are, in the aggregate, fair

and equitable, fall well within the range of reasonableness, and satisfy each applicable Martin

factor.

               a.     The Risks of Litigation and Subsequent Collection

               29.    Plaintiffs maintain that they have meritorious claims to recover the full

amount of the Transfers. Defendants disagree and have vigorously litigated the claims. Thus,

Plaintiffs would need to spend significant time and resources proving their claims, obtaining a

favorable judgment against Defendants, and enforcing a part of that judgment abroad against

Robin Matzke and Lorem Ipsum UG.


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                30.    Even if Plaintiffs were to succeed in defeating the motions to dismiss in

the Adversary Proceeding, Defendants would assert various defenses to the claims, contesting,

among other things, Plaintiffs’ assertions with respect to insolvency, the nature and purpose of

the transfers to Defendants, as well as whether Plaintiffs received reasonably equivalent value in

return. Many of these issues will turn on costly expert testimony, and Defendants can reasonably

be expected to proffer qualified experts in opposition to Plaintiffs’ experts.

                31.    Given the attendant risks and costs of litigation and the favorable terms of

the settlement, Plaintiffs submit that the proposed Stipulation is in the best interests of Plaintiffs’

estates.

                b.     The Complexity of the Litigation and the Attendant Expense,
                       Inconvenience, and Delay Are Unwarranted

                32.    Litigation of Plaintiffs’ claims against Defendants would be complex,

expensive, and time-consuming. Pursuit of the claims would require litigating the sufficiency of

evidence for various theories of recovery for multiple transfers, including the circumstances of

each transfer and the intent of Mr. Bankman-Fried and others in connection with these transfers.

Mr. Bankman-Fried and other former executives of Plaintiffs are unlikely to be available to

testify on issues relating to the claims in the near term due to ongoing criminal proceedings,

which further complicates the litigation and timing of resolution. Plaintiffs’ claims would

require litigating multiple other complex issues using expert reports and other evidence,

including the insolvency of the Debtors in 2021 and the value of Digital Assets DA AG when it

was acquired.

                c.     The Paramount Interests of Creditors are Served.

                33.    The Stipulation is in the best interests of Plaintiffs’ creditors because it

promptly resolves the Lambrianou, Lorem Ipsum UG and Patrick Gruhn Proofs of Claim,

obviates the need for further litigation of the Adversary Proceeding and the Motions to Dismiss

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in the Chapter 11 Cases, and, together with the Sale Transaction, allows the Debtors to realize

significant value for the assets of FTX Europe. The proposed settlement would thus maximize

value for the Debtors’ estates while avoiding time consuming and costly litigation. Indeed, for

these reasons, as set forth in the Motion, the Creditors’ Committee supports the Global

Settlement.

                34.     Therefore, in Plaintiffs’ business judgment, the value of entering into the

Stipulation exceeds the net benefits that Plaintiffs and their estates potentially could obtain by

pursuing litigation of claims against Defendants. Based on the foregoing, Plaintiffs submit that

the Stipulation satisfies the Martin factors and Bankruptcy Rule 9019 because it is fair,

reasonable, and in the best interests of Plaintiffs, their estates, and their stakeholders. As a result,

Plaintiffs respectfully request that the Court authorize Plaintiffs to enter into the Stipulation and

approve its terms.

                                Waiver of Bankruptcy Rule 6004(h)

                35.     Given the nature of the relief requested herein, Plaintiffs respectfully

request a waiver of the 14-day stay under Bankruptcy Rule 6004(h) to the extent such stay

applies. Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale, or lease of

property other than cash collateral is stayed until expiration of 14 days after entry of the order,

unless the court orders otherwise.” For the reasons described above, Plaintiffs submit that ample

cause exists to justify a waiver of the 14-day stay to the extent such stay applies.

                                        Reservation of Rights

                36.     Nothing in this Motion: (a) is intended or shall be deemed to constitute an

assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as

to the validity of any claim against Plaintiffs or their estates; (b) shall impair, prejudice, waive,

or otherwise affect the rights of Plaintiffs or their estates to contest the validity, priority, or


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amount of any claim against Plaintiffs or their estates; or (c) shall otherwise impair, prejudice,

waive, or otherwise affect the rights of Plaintiffs or their estates with respect to any and all

claims or causes of action against any third party except as otherwise set forth herein or in the

Stipulation.

                                                Notice

               37.     Notice of this Motion has been provided to: (a) the U.S. Trustee; (b)

counsel to the Official Committee; (c) counsel to the Ad Hoc Committee of Non-US Customers

of FTX.com; (d) the Securities and Exchange Commission; (e) the Internal Revenue Service; (f)

the United States Department of Justice; (g) the United States Attorney for the District of

Delaware; (h) counsel for the Joint Provisional Liquidators of FTX Digital Markets Ltd.; (i) the

United States Attorney for the Southern District of New York; (j) counsel to the LI Parties,

including Patrick Gruhn, Robin Matzke, Lorem Ipsum UG, Brandon Williams, Martha

Lambrianou, and Marcel Lötscher; and to the extent not listed herein, (k) those parties requesting

notice pursuant to Bankruptcy Rule 2002. Plaintiffs submit that, in light of the nature of the

relief requested, no other or further notice need be provided.

                                             Conclusion

               WHEREFORE, for the reasons set forth herein, Plaintiffs respectfully request that

the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and (b) grant

such other and further relief as is just and proper.




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Dated: February 22, 2024           LANDIS RATH & COBB LLP
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